       Case 5:16-cv-01296-OLG Document 9 Filed 10/25/17 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                                                                 FILED
                                 SAN ANTONIO DIVISION                            OCT 2    5 2017

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WILLIAM G. HENDPJX
                                                                                        DE        CLERK

               Plaintiff

V.                                                          CTVIL ACTION NO.
                                                            SA- 16-CA-i 296-OG
METROPOLITAN LLOYDS
INSURANCE COMPANY OF TEXAS

               Defendant


                                          ORDER
       The Court has received notice that all claims between the parties have been settled.

Docket no. 8. This case is administratively closed pending the submission of dismissal papers. If

necessary, the case may be re-opened upon,the filing of a motion by any party.

       IT IS SO ORDERED this      ____ay of October, 2017.



                                            ORLANDO L. GARCIA
                                            CHIEF U.S. DISTRICT JUDGE
